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IN THE UNITED sTATEs DISTRICT CoURT
FoR THE wEsTERN DISTRICT oF TENNESSEE 05 AUG l 7 PH 5= I2

 

   
        

 

WESTERN DIVISION
__ lHOMAS M. GOL!.D
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JULIAN T. BoLToN, WIU G!~ imer
Plaintiff,
v. Civil Action No. 05-2315 Ma/P
Jury Demanded
JOHN MORGAN, and
MARK PROCTOR,
Defendants.
SCHEDULING ORDER

 

Pursuant to written notice, a scheduling conference was held before the Honorable Tu M.
Pham on Thursday, August 18, 2005 . Present were John D. Richardson, counsel for Plaintiff, and
John J. Heflin III, counsel for Defendants. At the conference, the following dates were established

as the final dates for:

RULE 26(a)(l) INITIAL DISCLOSURES: Septernber l, 2005
JOINING PARTIES: October 3, 2005
AMENDING PLEADINGS: October 3, 2005
COMPLETING ALL DISCOVERY: June 30, 2006
(a) DOCUMENT PRODUCTION,
INTERROGATORIES,
REQUESTS FOR ADMISSION: March 3, 2006
(b) DEPOSITIONS: June 30, 2006

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(c) EXPERT WITNESS DISCLOSURE (Rule 26):

(I) DISCLOSURE OF PLAINTIFF’S

RULE 26 EXPERT INFORMATION: March 31, 2006
(2) DISCLOSURE OF DEFENDANTS’
RULE 26 EXPERT INFOR.MATION: May 12, 2006
(3) EXPERT WITNESS DEPOSITIONS: June 30, 2006
FILING DISPOSITIVE MOTIONS: July 28, 2006
OTHER RELEVANT MATTERS:

No depositions may be scheduled to occur after the discovery cutoff date. All written
discovery that requires a response must be filed sufficiently in advance of the discovery cutoff date
to enable opposing counsel to respond by the time permitted by the Rules prior to that date.

Motions to compel discovery are to be filed and served by the discovery deadline or within
30 days of the default or the service of the response, answer, or objection which is the subject of the
motion, if the default occurs within 30 days of the discovery deadline, unless the time for filing of
such motion is extended for good cause shown, or the objection to the default, response, answer, or
objection shall be waived.

This case is set for a jury trial, and the trial is expected to last 2 to 3 days. The pretrial order
date, pretrial conference date, and trial date will be set by the presiding Judge. The parties suggest
that an appropriate trial date would be during September or October, 2006.

This case is not appropriate for ADR at present.

The parties are reminded that pursuant to Local Rule l 1 (a)( l )(A), all motions, except motions

pursuant to Fed. R. Civ. P. 12, 56, 59, and 60, shall be accompanied by a proposed order.

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The opposing party may file a response to any motion filed in this matter. Neither party may
file an additional reply, however, without leave of the Court. If a party believes that a reply is
necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting forth
the reasons for which a reply is required.

The parties have not consented to trial before the Magistrate Judge.

This Order has been entered after a consultation with trial counsel pursuant to notice. Absent

good cause shown, the scheduling dates set by this Order will not be modified or extended.

vaca

TU M. PHAM
United States Magistrate Judge

Date: l]\\-l%()»t l,lr, war

IT IS SO ORDERED.

BY CONSENT:

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JOHN D. RICHARDSON, Attomey for ntiff

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UNIED

Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
case 2:05-CV-02315 was distributed by faX, mail, or direct printing on
August 18, 2005 to the parties listed.

 

 

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Honorable Sarnuel Mays
US DISTRICT COURT

